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                                   INDEX TO APPENDIX

Exhibit 1: A photograph of Mr. LaBonte taken shortly after his fall from the guard tower in Iraq,
in color and clearly showing his head injury……………………………………………………... 1

Exhibit 2: Email correspondence dated April 4, 2018, between the PEB Liaison Officer and Dr.
Doane and email correspondence dated June 19, 2018, between the PEB Liaison Officer, David
Cleland, Donna Reed, and Sherrie Moreira………………………………………………………. 2

Exhibit 3: Email correspondence dated April 30, 2018, between the PEB Liaison Officer and
Colleen Campbell and email correspondence dated May 4, 2018, between the PEB Liaison Officer,
Bobbie Brooker, and Colleen Campbell………………………………………………………….. 7
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                             EXHIBIT 1




Photo above is of Army Specialist Robert J LaBonte Junior. The photo was
taken during the early morning hours of February 7, 2004 by fellow M.P
Brandon Delaune. The photo was taken at a holding facility in Tilait Iraq.
Shortly after the photo was taken he was cleaned and his wound was
stitched by medical personnel.




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                                             EXHIBIT 2

Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)

From:                              Doane, Eric L CIV USARMY MEDCOM EAMC (US)
Sent:                              Wednesday, April 4, 2018 6:35 AM
To:                                Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)
Subject:                           RE: #DES
Signed By:                         eric.l.doane.civ@mail.mil

Sensitivity:                       Personal


Ms Randazzo. I cannot sign this.

The ABCMR-Army Board of Corrections of Military Records was sent to your
IDES to determine whether PDES processing WAS WARRENTED at the time of
separation. Clearly it was NOT warranted.

There is nothing in AHLTA. His last AHLTA entry was 2006 and he separated
in 2008. He was on no profiles. He was on no medications.

He cannot come back years later after receiving VA ratings and now demand
that he should have been put through the MEB.

If you would like our shop to do this ABCMR for you, we can. But I won't
sign this as no MEB required at the time of separation.

ELD.

-----Original Message-----
From: Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)
Sent: Tuesday, April 3, 2018 2:18 PM
To: Doane, Eric L CIV USARMY MEDCOM EAMC (US) <eric.l.doane.civ@mail.mil>
Subject: #DES
Sensitivity: Personal

Hello Dr. Doane,

Could you please review and sign this medical board for my ABCMR case?

Thank You.

Ginny Randazzo
Physical Evaluation Board Liaison Officer (PEBLO)
DoD/VA IDES Office
Availability for Soldiers & Units: M- F 0730-1515 EST

IDES OFFICE c/o HVHCS
Montrose Campus Building 14AB
2094 Albany Post Road
Montrose, NY 10548
Virginia.G.Randazzo.civ@mail.mil


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Phone: 914-737-4400 ext. 3619
Fax: 914-788-4861

usarmy.westpoint.medcom-kach.mbx.wp-des-office@mail.mil
<mailto:usarmy.westpoint.medcom-kach.mbx.wp-des-office@mail.mil>
(WP DES Office's Central Mailbox in the event that I am out of the office
and you need immediate assistance, send your email to this address only.)

Link to the MEB Patient Satisfaction Survey:
https://ice.disa.mil/index.cfm?fa=card&sp=140771&s=1327&dep

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Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)

From:                              Cleland, David M CIV USARMY MEDCOM OSPEBC NCR (US)
Sent:                              Tuesday, June 19, 2018 10:29 AM
To:                                Reed, Donna M CIV USARMY MEDCOM (US)
Cc:                                Moreira, Sherrie CIV USARMY MEDCOM OSPEBC NCR (US); Randazzo, Virginia G
                                   (Ginny) CIV USARMY MEDCOM KACH (US)
Subject:                           RE: Help!
Signed By:                         david.m.cleland.civ@mail.mil

Importance:                        High


Donna,

Pursuant to our telephone conversation the file belongs to the client and should be provided to his legal team.

Under AR 27-26 Rules of Professional Conduct for Lawyers Rule 1.16(d), upon termination of representation , a lawyer
shall take steps to the extent reasonably practicable to protect a client's interests...surrender papers and property to
which the client is entitled to.

In your case, the Soldier was entitled to these documents under AR 635-40. Under AR 635-40 4-5(d) the SMBC and SPBC
will have access to information contained in computerized databases and electronic medical records that relate to their
clients' medical condition and DES case status. Access to information incudes, but is not limited to, documents in eMEB,
ePEB, VTA, e-Profile, AHLTA, and Healthcare Artifact and Image Management Solution.

There are further areas of AR 635-40 which also support the access to documentation.

I recommend that you also consult your State Bar rules, but based on my understanding of the Army Ethical Rules, you
are required to turn those documents over to the client in order for his legal team prepare his ABCMR case.

Regards,

David M. Cleland
Deputy Regional Supervisory Counsel
Office of Soldiers Counsel
2530 Crystal Drive, Room 4194
Arlington, VA 22202

Office: 703-545-7040
Cell: 312-952-4781

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and Army Regulations 25-55 and 27-26).

 NOTICE REGARDING CLASSIFIED MATERIALS
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any form. We do not have secure computers, phones or storage facilities.
Do not send classified material to this office. If you believe that there
is classified material which may help your case, please let us know where it
is maintained so that proper arrangements can be made for its use by our
cleared personnel. Do not disclose the classified information.



-----Original Message-----
From: Reed, Donna M CIV USARMY MEDCOM (US)
Sent: Tuesday, June 19, 2018 9:18 AM
To: Cleland, David M CIV USARMY MEDCOM OSPEBC NCR (US) <david.m.cleland.civ@mail.mil>
Cc: Moreira, Sherrie CIV USARMY MEDCOM OSPEBC NCR (US) <sherrie.moreira.civ@mail.mil>; Randazzo, Virginia G
(Ginny) CIV USARMY MEDCOM KACH (US) <virginia.g.randazzo.civ@mail.mil>
Subject: Help!

David and Sherrie,

I'm hoping you can help me with this ABCMR case because I've never done one.

Not sure if you recall, several months ago you asked me to assist the Yale Clinic team with this case, so that's how I got
involved.

The current issue is, Dr. Eric Doane (Denies Everything), at Gordon, made a decision that the Soldier's PTSD did not
impact his decision making at the time of separation and no Med Board referral was warranted.

Yale team wants all documents generated and PEBLO does not believe she has authority to release them. Meredith
Healy (current clinic attorney), called me yesterday and wants to know where the next appeal goes. A FPEB should
follow?

Documents so far not released to Soldier: NARSUM- which PEBLO believes may have been created in error, and BH
exam.

If you could please 1.) let PEBLO know (Ginny, cc'd here), what she can release to Meredith Healy or to Soldier and 2.)
let me know to whom the next appeal is appropriately filed we would really appreciate it.

Thank you!!!

Donna



Donna M. Reed
Soldiers' MEB Counsel
Bldg. 626, Room 127
U.S. Military Academy, West Point, NY 10996 Donna.M.Reed10.civ@mail.mil
Office: 845-938-6161


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https://www.jagcnet.army.mil/otjagosc

ICE Comments:
https://ice.disa.mil/index.cfm?fa=card&sp=132302&s=170&dep=*DoD&sc=1


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should give us a brief, _unclassified_ description and the location of the documents. We can make arrangements for a
properly cleared person to view the material at the designated facility. Do not disclose the classified information.




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                                          EXHIBIT 3

Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)

From:                            Campbell, Colleen P CIV USARMY MEDCOM KACH (US)
Sent:                            Monday, April 30, 2018 3:23 PM
To:                              Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)
Cc:                              Brooker, Bobbie A CIV USARMY MEDCOM RHC-A (US)
Subject:                         FW: [Non-DoD Source] Memo for Approving Authority on Mr. LaBonte's Treatment
                                 History
Signed By:                       colleen.p.campbell3.civ@mail.mil




-----Original Message-----
From: Doane, Eric L CIV USARMY MEDCOM EAMC (US)
Sent: Monday, April 30, 2018 3:21 PM
To: Campbell, Colleen P CIV USARMY MEDCOM KACH (US)
<colleen.p.campbell3.civ@mail.mil>; Randazzo, Virginia G (Ginny) CIV USARMY
MEDCOM KACH (US) <virginia.g.randazzo.civ@mail.mil>
Subject: RE: [Non-DoD Source] Memo for Approving Authority on Mr. LaBonte's
Treatment History

Ms Campbell, I will have a response to you by tomorrow, latest Wednesday.
There is clearly no basis for this soldier requiring a MEB prior to his
separation. Please wait for my response to this ABCMR.

Eld.

-----Original Message-----
From: Campbell, Colleen P CIV USARMY MEDCOM KACH (US)
Sent: Friday, April 20, 2018 9:13 AM
To: Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)
<virginia.g.randazzo.civ@mail.mil>; Doane, Eric L CIV USARMY MEDCOM EAMC (US)
<eric.l.doane.civ@mail.mil>
Subject: RE: [Non-DoD Source] Memo for Approving Authority on Mr. LaBonte's
Treatment History

Gmorning,



If there is still an issue with signing this board please let me know, we will
have COL Dawson do the review. I have already fielded inquiries this week from
MEDCOM as to the status of completion.



Thanks very much~




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v/r,

Colleen



Colleen P. Campbell

Chief, Patient Affairs Branch

Supervisory Health Systems Specialist (PEBLO)

Keller Army Community Hospital

West Point, NY 10996



c/o DoD/VA IDES Office MCUD-PAD-IDES (620MA)

Hudson Valley Healthcare System (HVHCS) Building 14AB

2094 Albany Post Road

Montrose, NY 10548

WP: 914-737-4400 x3625

FAX: 914-788-4861

colleen.p.campbell3.civ@mail.mil




-----Original Message-----
From: Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)
Sent: Friday, April 20, 2018 7:40 AM
To: Doane, Eric L CIV USARMY MEDCOM EAMC (US) <eric.l.doane.civ@mail.mil>
Cc: Campbell, Colleen P CIV USARMY MEDCOM KACH (US)
<colleen.p.campbell3.civ@mail.mil>
Subject: RE: [Non-DoD Source] Memo for Approving Authority on Mr. LaBonte's
Treatment History



Good Morning Dr. Doane,


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See the decision page attached.



From what it says, I think they are directing OTSG to determine if he should

be retired or discharged by reason of physical disability. The only way to

determine that is to have a medical board.



"Therefore, under the authority of Title 10, United States Code, section 1552,

I direct that the applicant's case be referred to the Office of the Surgeon

General to determine if he should have

been retired or discharged by reason of physical disability through the

Integrated Disability Evaluation System (IDES)"



If he were to have met retention standards at the time of discharge, we would

still do a board and determine that he would have been returned to duty at the

MEB Level.



Thank you.



Ginny Randazzo

Physical Evaluation Board Liaison Officer (PEBLO)

DoD/VA IDES Office

Availability for Soldiers & Units: M- F 0730-1515 EST



Link to the MEB Patient Satisfaction Survey:

https://ice.disa.mil/index.cfm?fa=card&sp=140771&s=1327&dep=


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-----Original Message-----

From: Doane, Eric L CIV USARMY MEDCOM EAMC (US)

Sent: Thursday, April 19, 2018 9:13 PM

To: Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)

<virginia.g.randazzo.civ@mail.mil>

Subject: RE: [Non-DoD Source] Memo for Approving Authority on Mr. LaBonte's

Treatment History



Is there a document actually directing a MEB to be done or are they asking if

one should be done.



-----Original Message-----

From: Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)

Sent: Monday, April 16, 2018 10:34 AM

To: Doane, Eric L CIV USARMY MEDCOM EAMC (US) <eric.l.doane.civ@mail.mil>

Cc: Campbell, Colleen P CIV USARMY MEDCOM KACH (US)

<colleen.p.campbell3.civ@mail.mil>

Subject: RE: [Non-DoD Source] Memo for Approving Authority on Mr. LaBonte's

Treatment History



We're doing a Legacy Board on him. The suspense is whenever you can get to it.

They ask me for an update on his case weekly.



Thanks for agreeing to look it over.


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Thank you.



Ginny Randazzo

Physical Evaluation Board Liaison Officer (PEBLO)

DoD/VA IDES Office

Availability for Soldiers & Units: M- F 0730-1515 EST



Link to the MEB Patient Satisfaction Survey:

https://ice.disa.mil/index.cfm?fa=card&sp=140771&s=1327&dep=




-----Original Message-----

From: Doane, Eric L CIV USARMY MEDCOM EAMC (US)

Sent: Sunday, April 15, 2018 8:30 PM

To: Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)

<virginia.g.randazzo.civ@mail.mil>

Cc: Campbell, Colleen P CIV USARMY MEDCOM KACH (US)

<colleen.p.campbell3.civ@mail.mil>

Subject: RE: [Non-DoD Source] Memo for Approving Authority on Mr. LaBonte's

Treatment History



Well this is amazing. I will have to digest this in detail next week and

perhaps call someone at the ABCMR. What is your suspense on this? I'm still

not convinced we are being forced to do IDES processing on him.




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-----Original Message-----

From: Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)

Sent: Thursday, April 12, 2018 10:30 AM

To: Doane, Eric L CIV USARMY MEDCOM EAMC (US) <eric.l.doane.civ@mail.mil>

Cc: Campbell, Colleen P CIV USARMY MEDCOM KACH (US)

<colleen.p.campbell3.civ@mail.mil>

Subject: FW: [Non-DoD Source] Memo for Approving Authority on Mr. LaBonte's

Treatment History



Hello Dr. Doane,



Sorry I did not get back to you sooner about this ABCMR case that you are

denying. I was awaiting on more information from the Soldier and his legal

team.



Attached is a memo where they answer some questions I had for them. I also

attached the ABCMR Packet (they added a zip file of the whole packet-

including his medical records).



The ABCMR Decision memo states "Therefore, under the authority of Title 10,

United States Code, section 1552, I direct that the applicant's case be

referred to the Office of the Surgeon General to determine if he should have

been retired or discharged by reason of physical disability through the

Integrated Disability Evaluation System (IDES)" (Of course the verbiage in

the memo should be changed since all ABCMR cases are done via LDES only.)




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I've also attached the initial email we got from Jackie Floyd directing us to

do the board.



Please let me know if you need anything else. Please also let me know if this

changes your decision to not sign the board.



Thank you.



Ginny Randazzo

Physical Evaluation Board Liaison Officer (PEBLO)

DoD/VA IDES Office

Availability for Soldiers & Units: M- F 0730-1515 EST



Link to the MEB Patient Satisfaction Survey:

https://ice.disa.mil/index.cfm?fa=card&sp=140771&s=1327&dep=




-----Original Message-----

From: Samuel Davis [mailto:sam.davis@ylsclinics.org]

Sent: Wednesday, April 11, 2018 4:30 PM

To: Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)

<virginia.g.randazzo.civ@mail.mil>

Cc: Tomo Takaki <tomo.takaki@ylsclinics.org>; Diana Lee

<diana.lee@ylsclinics.org>; Aaron Wenzloff <aaron.wenzloff@ylsclinics.org>;

sgtfrog56@gmail.com

Subject: [Non-DoD Source] Memo for Approving Authority on Mr. LaBonte's


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Treatment History



Hi Ginny--




Please see attached for a memo detailing our responses to the questions raised

last week.




We've also included Mr. LaBonte's initial ABCMR brief, the ABCMR decision, and

the various letters and affidavits we've sent to you throughout this process.

We believe it would be helpful for the Approving Authority to review these

documents should they have further questions about Mr. LaBonte's referral to

the MEB.




Best,




Sam, Tomo, and Diana




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Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)

From:                            Campbell, Colleen P CIV USARMY MEDCOM KACH (US)
Sent:                            Friday, May 4, 2018 10:34 AM
To:                              Randazzo, Virginia G (Ginny) CIV USARMY MEDCOM KACH (US)
Subject:                         FW: Status of ABCMR case?
Signed By:                       colleen.p.campbell3.civ@mail.mil




-----Original Message-----
From: Doane, Eric L CIV USARMY MEDCOM EAMC (US)
Sent: Friday, May 4, 2018 10:33 AM
To: Campbell, Colleen P CIV USARMY MEDCOM KACH (US)
<colleen.p.campbell3.civ@mail.mil>
Subject: RE: Status of ABCMR case?

Thanks Colleen. Appreciate your patience. I will definitely be denying the
requirement for a MEB at the time he was discharged. Document to follow on
Monday. I have been discussion with the ABCMR folks about this case.

-----Original Message-----
From: Campbell, Colleen P CIV USARMY MEDCOM KACH (US)
Sent: Friday, May 4, 2018 10:03 AM
To: Doane, Eric L CIV USARMY MEDCOM EAMC (US) <eric.l.doane.civ@mail.mil>
Subject: Status of ABCMR case?

Greetings,

Just following up to see where you are at with Ginny's ABCMR case, thanks
very much

v/r,
Colleen

Colleen P. Campbell
Chief, Patient Affairs Branch
Supervisory Health Systems Specialist (PEBLO)
Keller Army Community Hospital
West Point, NY 10996

c/o DoD/VA IDES Office MCUD-PAD-IDES (620MA)
Hudson Valley Healthcare System (HVHCS) Building 14AB
2094 Albany Post Road
Montrose, NY 10548
WP: 914-737-4400 x3625
FAX: 914-788-4861
colleen.p.campbell3.civ@mail.mil




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